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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS


 KENNETH RUCKMAN                                   )
                                                   )
 Plaintiff,                                        )
                                                   )
 v.                                                ) CASE NO. 3:16-CV-00260
                                                   )
 MIDLAND CREDIT MANAGEMENT, INC.                   )
                                                   )
         Defendants.                               )    JURY TRIAL DEMANDED

                                   NOTICE OF SETTLEMENT

 COMES NOW, Plaintiff Kenneth Ruckman and with consent of Defendant respectfully

 notifies this Court that the parties have reached a settlement on all of Plaintiff’s claims.

 The parties respectfully request thirty days to complete the attendant paperwork before

 Plaintiff dismisses her claims.


                                            THE EASON LAW FIRM, LLC

                                            /s/ James W. Eason
                                            ______________________________
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies a copy of the foregoing was served via the
 Courts CM/ECF filing system this 6th day of October, 2016 to the following:


 Vitaly Libman: vlibman@hinshawlaw.com

                                                      /s/ James W. Eason
                                                      ____________________




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